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            Appellate Division of the Supreme Court
                     of the State of New York
                   Second Judicial Department


       I, Darrell M. Joseph, Acting Clerk of the Appellate Division
of the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                     Andrew Rhys Davies
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on September
                                                            r 18,,
2002, has duly taken and subscribed the oath of office prescribed
by law, has been enrolled in the Roll of Attorneys and Counselors
at Law on file in this office, is duly registered with the Office of
Court Administration, and according to the records of this Court
is currently in good standing as an Attorney and Counselor-at-
Law.



                           In Witness Whereof, I have hereunto set
                           my hand in the City of Brooklyn on
                           August 22, 2023.




                                 Acting Clerk of the Court


CertID-00133750
